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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                            ENTERED
                                                                                             09/01/2020
IN RE:                                         §
FORD STEEL, LLC                                §       CASE NO: 20-34405
       Debtor(s)                               §
                                               §       CHAPTER 11

                                      ORDER
                           SETTING ELECTRONIC HEARING
                                      Regarding ECF No. 3

1.    A hearing on Debtor’s Emergency Motion for Use of Cash Collateral, ECF No. 3, shall
      be conducted electronically before the United States Bankruptcy Court, Southern District
      of Texas, Houston Division on Thursday, September 4, 2020 at 9:00 a.m. (Central
      Standard Time).

2.    To participate electronically, parties must follow the instructions set forth on Judge
      Rodriguez’s web page located at: https://www.txs.uscourts.gov/content/united-states-
      bankruptcy-judge-eduardo-v-rodriguez. Parties are additionally instructed:

      a.       The dial-in-number for hearings before Judge Rodriguez is 712.775.8972 and the
               conference room number is 999276; and
      b.       for video appearances and witness testimony, parties are to utilize the
               GoToMeeting web-based application and enter conference code: judgerodriguez.

3.    Parties must comply with Bankruptcy Local Rule 9013-2 and Judge Rodriguez’s Court
      Procedures Section VII(b) regarding the exchange and submission of electronic exhibits.

4.    Upon entry of this Order, Debtor must serve a copy of this Order on all parties entitled to
      notice of the hearing and file a certificate of service with the Clerk’s office.


      SIGNED 09/01/2020.


                                               ___________________________________
                                                       Eduardo V. Rodriguez
                                                    United States Bankruptcy Judge




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